UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

IN RE Case No. | 1-06637(MCF)
JUAN C. BALCELLS GALLARETA CHAPTER 7
Debtor

SWORN STATEMENT OF
JUAN FRANCISCO BALCELLS GONZALEZ

 

I, Juan Francisco Balcells Gonzalez, of legal age, single, a student and resident of

Guaynabo, Puerto Rico, hereby declare under penalty of perjury:
1. My personal circumstances are as above stated.

2. I am 22 years of age.

3. I am the son of Mrs. Amarilys Gonzalez Garcia and Juan Carlos Balcells
Galagarreta.
4, My father, the Debtor, Juan Carlos Balcells Galagarreta filed the bankruptcy

petition genesis of this case on August 5, 2011. At such time I was 14 years old.

5, On February 12, 2012, my mother, Amarilys Gonzalez Garcia, filed a Domestic
Support Obligation (“DSO”) proof of claim.

6. I ratify any actions and authorize my mother, Amarilys Gonzalez Garcia, to act in
my place and stead, in relation to the DSO claim filed in the above captioned case.

7. I am currently a student at the University of Puerto Rico, Mayaguez.

8. The address of my permanent residence is Urb. Villas Reales, Calle Versalles #

381, Guaynabo, Puerto Rico.

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2. I declare under oath that the foregoing is true and correct to the best of my

knowledge.

In A(WC2_, Puerto Rico, on this_2OQ day of April, 2019

Gil

JE FRANCISCO BALCELLS GONZALEZ

Affidavit No. QOY

Sworn and subscribed before me by Juan Francisco Balcells Gonzalez, of legal age,
single, a student and resident of Guaynabo, Puerto Rico, whom I personally know, in
, Puerto Rico, this 3@ day of April of 2019.

   

 

Sello de Asistencia Leaal
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